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UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISlANA CLERK
CHRISTOPHER DORSEY CIVIL ACTION: 03-2022
VERSUS SECTION: K (Judge Duval)
MONEY MACK MUSIC, lNC.; CASH MAG: l (Judge Shushan)

MONEY RECORDS, INC. CASH MONEY
PRODUCTIONS, lNC, RONALD WILLlAMS
BRYAN WILLlAMS AND MICHELLE DlAZ

PLAINTIFF'S MOTION TO CONTINUE AND RESET
TELEPHONE SCHEDULING CONFERENCE

NOW INTO COURT through undersigned counsel comes plaintiff and

respectfully moves and represents as follows:
(1)

A preliminary telephone conference is currently set in this matter for l 1200 a.m.
on December 12, 2003. The purpose of the conference is to pick cutoffs and a trial date.
This Honorable Court’s order fixing the date of the conference indicates that the parties
are to complete their Rule 26 disclosures prior to the conference.

(2)

There is a dispute over jurisdiction in this matter. To be specific, this case was
removed to federal court. Plaintiffs filed an opposed motion to remand which was
submitted for decision in September 2003.

(3)
This Honorable Court has not yet ruled on the motion to remand Thus, federal

jurisdiction is not yet established

 

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(4)

Plaintiffs are concerned that preparation of Rule 26 disclosures and/or
participation in the scheduling conference might be construed as a waiver of the right to
remand and/or might serve to estop plaintiffs from pursuing the motion to remand gang
v. Edward HMan Co., 664 F.Zd 943, 945 (5th Cir. 1981); Fellhauer v. Citv of Geneva,
673 F.Supp. 1445 (N.D. Ill. 1987) (waiver, estoppel).

(5)

For this reason, plaintiffs believe that it would be prudent to continue the

scheduling conference and reset same for a date after January 1, 2004.
(6)

Defense counsel has been contacted and has no opposition.

WHEREFORE plaintiffs respectfully move and pray this Honorable Court to
continue the preliminary scheduling conference, currently scheduled for December 12,
2003, and reset same for a date after January 1, 2004.

Res y su mi

 

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II

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UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

CHRISTOPHER DORSEY CIVIL ACTION: 03-2022
VERSUS SECTION: K (Judge Duval)
MONEY MACK MUSIC, INC.; CASH MAG: l (Judge Shushan)

MONEY RECORDS, INC. CASH MONEY
PRODUCTIONS, INC, RONALD WILLlAMS
BRYAN WILLlAMS AND MICHELLE DlAZ

PLAINTlFF'S MEMORANDUM IN SUPPORT OF MOTION
TO CONTINUE AND RESET TELEPHONE SCHEDULING CONFERENCE

MAY lT PLEASE THE COURT:

This case was removed to federal court. Plaintiffs filed an opposed motion to
remand which was submitted for decision in September 2003.

This Honorable Court has not yet ruled on the motion to remand Thus, federal
jurisdiction has not yet been established

A preliminary telephone conference has been set for December 12, 2003.
Plaintiffs are concerned that preparation of Rule 26 disclosures and/or participation in the
scheduling conference might be construed as a waiver of the right to remand and/or might
serve to estop plaintiffs from pursuing the motion to remand Harris v. Edward vaan
_(_I&1 664 F.2d 943, 945 (5th Cir. 1981) (waiver); Fellhauer v. Citv of Geneva, 673 F.Supp.
1445 (N.D. lll. 1987) (waiver, estoppel).

To avoid any possible argument over whether plaintiffs might waive the right to

remand by preparing Rule 26 disclosures or participating in the scheduling conference,

III

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plaintiffs respectfully ask this Honorable Court to continue the preliminary telephone

conference to a time and date on or after January l, 2004.

 

 

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IV

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UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISlANA

CHRISTOPHER DORSEY CIVIL ACTION: 03-2022
VERSUS SECTION: K (Judge Duval)
MONEY MACK MUSIC, INC.; CASH MAG: 1 (Judge Shushan)

MONEY RECORDS, INC, CASH MONEY
PRODUCTIONS, INC, RONALD WILLlAMS
BRYAN WILLlAMS AND MICHELLE DIAZ

CE_RTM

I certify that I have served a copy of the above and foregoing on all counsel of record by
hand or by placing same in the U.S. mail postage prepaid this 18th day of November,
2003.

Bruce v. Schewe, Esq.
Phelps Dunbar, L.L.P.
Canal Place

365 Canal Street Suite 20
New Orleans, L'¢ 013 0 '

 
 

 

VI

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UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISlANA

CHRISTOPHER DORSEY CIVIL ACTION: 03-2022
VERSUS SECTION: K (Judge Duval)
MONEY MACK MUSIC, lNC.; CASH MAG: 1 (Judge Shushan)

MONEY RECORDS, INC, CASH MONEY
PRODUCTIONS, INC, RONALD WlLLIAMS
BRYAN WILLlAMS AND MICHELLE DIAZ

CERTIFICATE OF NO OPPOSITION

Counsel for defense has been contacted and has no opposition to postponing the

December 12, 2003 Telephone Status Conference.

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Donald de Boisblanc, Jr.

 

VII

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UNITED STATES DISTRlCT COURT

EASTERN DISTRICT OF LOUISlANA

CHRISTOPHER DORSEY CIVIL ACTION: 03-2022
VERSUS SECTION: K (Judge Duval)
MONEY MACK MUSIC, INC.; CASH MAG: l (Judge Shushan)

MONEY RECORDS, INC, CASH MONEY
PRODUCTIONS, INC, RONALD WILLlAMS
BRYAN WILLlAMS AND MICHELLE DlAZ

ORDER

Considering the above and foregoing,

IT IS ORDERED, ADJUDGED, AND DECREED THAT plaintiff’ s Motion to

     
 

New Orleans, Louisi this ___ day of August, 2003.

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